Case 3:22-cv-04397-PGS-JBD Document 44. Filed 09/12/23 Page 1 of 3 PagelD: 175

MATTHEW J. PLATKIN

ATTORNEY GENERAL OF NEW JERSEY

R.J. Hughes Justice Complex
P.O. Box 116
Trenton, New Jersey 08625

Attorney for Defendants Matthew J. Platkin, Patrick J. Callahan, Bradley D.

Billhimer, and Christine A. Hoffman

By: Daniel M. Vannella (NJ Bar # 015922007)

Assistant Attorney General

609-376-2776
Daniel. Vannella@law.njoag.gov

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
TRENTON VICINAGE

ASSOCIATION OF NEW JERSEY RIFLE
& PISTOL CLUBS, INC., BLAKE
ELLMAN, and MARC WEINBERG,

Plaintiffs,
V.

MATTHEW PLATKIN, in his official
capacity as Attorney General of New Jersey,
PATRICK J. CALLAHAN, in his official
capacity as Superintendent of the New
Jersey Division of State Police,

RYAN MCNAMEFE, in his official capacity
as Chief of Police of the Chester Police
Department, and JOSEPH MADDEN, in his
official capacity as Chief of Police of the
Park Ridge Police Department,

Defendants.

HON. PETER G. SHERIDAN

Civil Action No.
3:18-cv- 10507

ORDER EXTENDING
CONSOLIDATION PURSUANT
TO FED. R. CIV. P. 42(a) AND
LOCAL CIV. R. 42.1
Case 3:22-cv-04397-PGS-JBD Document 44 Filed 09/12/23 Page 2 of 3 PagelD: 176

MARK CHEESEMAN, TIMOTHY
CONNELLY, and FIREARMS
POLICY COALITION, INC.,

Civil Action No. ”
Plaintiffs, 1:22-cv-4360 »°

Vv.

MATTHEW J. PLATKIN, in his
official capacity as Acting Attorney
General of New Jersey, PATRICK J.
CALLAHAN, in his official capacity
as Superintendent of the New Jersey
State Police, CHRISTINE A.
HOFFMAN, in her official capacity as
Acting Gloucester County Prosecutor,
and BRADLEY D. BILLHIMER, in
his official capacity as Ocean County
Prosecutor, os

Defendants.

BLAKE ELLMAN, THOMAS R.
ROGERS, and ASSOCIATION OF
NEW JERSEY RIFLE & PISTOL
CLUBS, INC.,
Civil Action No.
Plaintiffs, 3:22-cv-04397

V.

MATTHEW 5. PLATKIN, in his
official capacity as Attorney
General of New Jersey, PATRICK J.
CALLAHAN, in his official capacity
as Superintendent of the New Jersey
Division of State Police, LT. RYAN
MCNAMEE, in his official capacity as
Officer in Charge of the Chester Police

Case 3:22-cv-04397-PGS-JBD Document 44 Filed 09/12/23 Page 3 of 3 PagelD: 177

Department, and KENNETH BROWN, JR.,
in his official capacity as Chief of the Wall
Township Police Department,

Defendants.

This matter having come before the Court on a motion pursuant to Fed. R.
Civ. P. 42(a) and Local Civil Rule 42.1 on November 11, 2018 by Defendants
Matthew J. Platkin, Patrick J. Callahan, Bradley D. Billhimer, and Christine A.
Hoffman (ECF 128}; and the Court having granted the motion and ordered that the
three above-captioned cases be consolidated for coordination of discovery on
February 6, 2023 (ECF 148), and discovery having concluded on August 31, 2023,
and the parties having submitted a joint proposal on August 25, 2023 (ECF 166)
requesting that the cases continued to be consolidated through the resolution of
dispositive motions and Daubert motions, and for good cause shown;

It is on this 11 day of September, 2023;

ORDERED that the consolidation of the three above-captioned actions be

extended through the resolution of Daubert motions and dispositive motions.

5 BAR cscus “SUE Es cme

PETER G. SHERIDAN, US.D.J.

